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Attorneys for Plaintiff


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF ALASKA

SHARALYN WRIGHT,                                 Case No. 3:15-CV-96-TMB
          Plaintiff,
                                                 (Consolidated with
                                                 Case No. 3:16-cv-0046-TMB)
                vs.
                                                 STIPULATION FOR DISMISSAL WITH
UNUM LIFE INSURANCE COMPANY                                   PREJUDICE
OF AMERICA,                                           (Fed. R.Civ. P. 41(a)(1)(A)(ii))
           Defendant.




       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sharalyn Wright

and Defendants Unum Life Insurance Company of America, Case No. 3:15-cv-0096-TMB and




Wright v. Unum Life and Wright v. Unum Group                                         Page 1 of 2
Case No. 3:15-cv-96-TMB

         Case 3:16-cv-00046-TMB Document 45 Filed 10/02/17 Page 1 of 2
Unum Group, Case No. 3:16-cv-0046-TMB, hereby stipulate to the dismissal with prejudice of

each action, with each party to bear its own costs and attorney fees.


       DATED this 2nd day of October, 2017.


/s/ Jeffrey K. Rubin                                          /s/ Theona Zhordania

Jeffrey K. Rubin                                              Theona Zhordania
Friedman | Rubin                                              Sheppard, Mullin, Richter
For Plaintiff                                                  & Hampton, LLP
                                                              For Defendants


                                CERTIFICATE OF SERVICE


        I certify that on October 2, 2017, I electronically transmitted the foregoing to the Clerk’s
office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
CM/ECF registrants in this action.



/s/ Gino Pasquale
Gino Pasquale




Wright v. Unum Life and Wright v. Unum Group                                              Page 2 of 2
Case No. 3:15-cv-96-TMB

         Case 3:16-cv-00046-TMB Document 45 Filed 10/02/17 Page 2 of 2
